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 1    Arjun Vasan
 2    arjun.vasan@gmail.com
 3    12615 193rd Street
 4    Cerritos, CA 90703
 5    562-900-6541
 6    Plaintiff in Pro Per
 7
 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
       Arjun Vasan,                                    Case No.: 2:25−cv−00765−MEMF−JPR
11
                    Plaintiff,
12
                                                       EX PARTE APPLICATION FOR
13
                                                       PROTECTIVE ORDER PURSUANT
             vs.
14
                                                       TO FRCP 26(C); MEMORANDUM
15
                                                       OF POINTS AND AUTHORITIES;
       Checkmate.com, Inc.,
16
                                                       DECLARATION OF ARJUN
       (dba “Checkmate”),
17
                                                       VASAN; [PROPOSED] ORDER
                    Defendant.
18
19
20
21    TO THE COURT, DEFENDANT CHECKMATE.COM, INC., AND THEIR COUNSEL:

22    Plaintiff Arjun Vasan respectfully applies ex parte pursuant to Federal Rule of Civil
23    Procedure 26(c) for a Protective Order to protect witnesses Chris Lam and Robert
24    Nessler from retaliation or adverse employment actions by Defendant
25    Checkmate.com, Inc. ("Defendant").
26
      GOOD CAUSE EXISTS to issue this protective order immediately, as Plaintiff’s
27
      recent notification to Defendant of his intent to seek such relief has significantly
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                                                   1

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 1    increased the risk of immediate retaliation or intimidation against these witnesses,
 2    who remain employed by Defendant. Courts routinely grant such protective orders
 3    to safeguard witness integrity and protect against retaliation, intimidation, or undue
 4    influence. Rivera v. NIBCO, Inc., 364 F.3d 1057 (9th Cir. 2004); Does I thru XXIII
 5    v. Advanced Textile Corp., 214 F.3d 1058, 1069 (9th Cir. 2000).
 6
 7                 MEMORANDUM OF POINTS AND AUTHORITIES
 8
      Under FRCP 26(c)(1), the Court may issue protective orders to protect witnesses
 9
      from annoyance, embarrassment, oppression, or undue burden. A legitimate fear of
10
      retaliation or undue influence on testimony constitutes good cause. Rivera, 364
11
      F.3d at 1063-1064.
12
      Plaintiff, acting pro se, recently sent a meet-and-confer notice to Defendant’s
13
      counsel per Local Rule 37-1, seeking agreement on a protective order. Immediately
14
      thereafter, Plaintiff recognized that this notice substantially heightened the
15
      imminent risk of retaliatory action against witnesses Lam and Nessler. Given
16
      Defendant’s demonstrated retaliatory behavior detailed in Plaintiff’s complaint,
17
      including wrongful termination and threats intended to suppress truthful
18
      disclosures, this ex parte protective order is now urgently required.
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 1                           DECLARATION OF ARJUN VASAN
 2    I, Arjun Vasan, declare:
 3
             1.     I am Plaintiff in this action, proceeding pro se. I have personal
 4
      knowledge of these facts.
 5
             2.     On April 17, 2025, in good faith compliance with L.R. 37-1, I emailed
 6
      Defendant’s counsel indicating my intent to seek a protective order for current
 7
      Checkmate employees Chris Lam and Robert Nessler due to their anticipated
 8
      participation in this litigation.
 9
10           3.     Immediately upon sending this notice, it became apparent that
11    Defendant’s prior retaliatory conduct (as documented in my Complaint (ECF No.
12    10) places these witnesses at serious and immediate risk of intimidation,
13    retaliation, or adverse employment actions.
14           4.     Given this heightened risk, immediate Court intervention is necessary
15    to ensure these witnesses may provide truthful and uninhibited testimony without
16    fear of retaliatory harm.
17
      I declare under penalty of perjury under the laws of the United States that the
18
      foregoing is true and correct.
19
20                                                   Executed on April 17, 2025, in Cerritos,
21                                                   California.
22


                                                     Arjun Vasan
23
24
25                                                   ________________________________
26                                                   Arjun Vasan
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 1                                  [PROPOSED] ORDER
 2
      Having reviewed Plaintiff’s Ex Parte Application for Protective Order and
 3
      supporting materials, and finding good cause shown, IT IS HEREBY ORDERED:
 4
      Defendant Checkmate.com, Inc., its agents, representatives, and employees are
 5
      immediately restrained from retaliating, intimidating, or otherwise taking adverse
 6
      employment actions against Chris Lam and Robert [Last Name] arising from their
 7
      participation or anticipated participation in providing testimony, declarations, or
 8
      any other involvement in this litigation.
 9
10    This Protective Order shall remain in effect until modified by further Court order.
11
12
            IT IS SO ORDERED.
13
14
15    Date: ________________          _________________________________________
16
17
                                     HON. MAAME EWUSI-MENSAH FRIMPONG
18
                                     United States District Court Judge
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                                           Notice of Errata
